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                           UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION



 IN RE: NATIONAL PRESCRIPTION                    Case No. 1:17-md-2804
 OPIATE LITIGATION
                                                 Hon. Dan A. Polster
 APPLIES TO ALL CASES



                WALGREEN EASTERN CO., INC.’S NOTICE
        REGARDING REQUESTS FOR WAIVER OF SERVICE OF SUMMONS

       Defendant Walgreen Eastern Co., Inc. (“Walgreens”), submits this notice and attached

forms pursuant to Paragraph 6(d) of the Court’s Case Management Order One, Dkt. 232. Requests

for waiver of service of summons from Walgreens can be sent to Kaspar J. Stoffelmayr at Opioids-

MDL-Walgreens-Service@bbhps.com. The attached forms have been modified to reflect the

Court’s moratorium on filings.

       By filing this notice and the attachments as required by the Court’s order, Walgreens does

not waive and expressly preserves all defenses and objections, including without limitation

objections to the Court’s lack of personal jurisdiction, venue, and/or the sufficiency and manner

of service of process.

Dated: April 25, 2018
                                                 Respectfully submitted,

                                                 /s/ Kaspar J. Stoffelmayr
                                                 Kaspar J. Stoffelmayr
                                                 Bartlit Beck Herman Palenchar & Scott LLP
                                                 54 West Hubbard Street, Ste. 300
                                                 Chicago, Illinois 60654
                                                 (312) 494-4400
                                                 kaspar.stoffelmayr@bartlit-beck.com

                                                 Counsel for Walgreen Eastern Co., Inc.
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                               CERTIFICATE OF SERVICE

       I hereby certify that, this 25th day of April, 2018, I electronically filed a copy of the

foregoing with Clerk of the Court using the ECF system, which sent notification of such filing to

counsel of record.


                                                 /s/ Kaspar J. Stoffelmayr
                                                 Kaspar J. Stoffelmayr
                                                 Counsel for Walgreen Eastern Co., Inc.




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